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Lawrence S. Lustberg

GIBBONS P.C.

One Gateway Center .
Newark, New Jersey 07102-5310 ces
Tel: (973) 596-4500

Fax: (973) 596-0545

Attorneys for Plaintiff

UNITED STATES DISTRICT COURT

DISTRICT OF NEW JERSEY
IN RE SEACH OF ALL ELCTRONIC Mag. No. 19-8415
DEVICES ON THE PERSON OF WAEL
HANA
IN RE SEACH OF THE PREMISES Mag. No. 19-8417

LOCATED INSIDE 125 RIVER ROAD,
SUITE 301, EDGEWATER, NEW JERSEY,
07020

IN RE SEARCH OF THE PREMISES Mag. No. 19-8418
LOCATED AT 100 ALEXANDER WAY,
SUITE 710, EDGEWATER, NEW JERSEY,
07020

IN RE SEARCH OF THE PREMISES Mag. No. 19-8459
LOCATED INSIDE 125 RIVER ROAD,
SUITE 301, EDGEWATER, NEW JERSEY
07020

Civil Action No.: 20-cv-_S. 36 (Eee)

WAEL HANA,
Plaintiff,
-v-
UNITED STATES OF AMERICA

Defendant.

DECLARATION OF WAEL HANA IN SUPPORT OF
PLAINTIFF’S MOTION FOR RETURN OF PROPERTY

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I, Wael Hana, pursuant to 28 U.S.C. § 1746, declare under penalty of perjury that the foregoing is
true and correct:
Background

1. I am a United States citizen and an Egyptian national who has lived in the United
States since April, 2006. I live at 100 Alexander Way, Suite 710, Edgewater, New Jersey 07020.

2. I am the president and founder of IS EG Halal, a company which certifies halal
products imported into Egypt. Halal products are products prepared in accordance with Islamic
law as set forth in the Quran and are the only type of products that Muslim people may ingest;
“halal” literally translates as the English word “permissible.” Halal products include food such as
meat and milk, as well as medicine, vitamins, and other substances. Though there are many rules
regarding halal products, the chief among them is that they cannot contain pork or alcohol.

3. IS EG Halal is the only company authorized by the Egyptian Ministry of
Agriculture to certify halal products imported into Egypt from anywhere in the world. Previously,
a terrorist organization known as the Muslim Brotherhood oversaw halal product certification for
food imported into Egypt. The Egyptian government took away the Muslim Brotherhood’s
authorization to certify halal products in order to deprive the group of financial resources. They
gave me the certification because they know that I am not associated with the Muslim Brotherhood
and because they trust my work — as an entrepreneur, I own other businesses which import things

into Egypt on behalf of the government.' They also provided me with employees who can assist

' My company Loundef Express Group takes bid requests from the Egyptian Ministry of Defense’s office in D.C.
The requests ask me to ship goods and materials into Egypt on behalf of the government. I am also currently in
contact with a law firm in New York to establish a freight forwarding license company which will be in charge of
shipping everything sold by the United States Army to the Egyptian Army.
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me with the halal certification — as I am a Christian, I am not experienced in halal certification, so
the Egyptian government has provided imams and trained veterinarians to assist me.

4. IS EG Halal’s headquarters are based at 125 River Road, Suite 301, Edgewater,
New Jersey 07020. The company has existed since November 2017, but actually started doing
business in April 2019. In addition to the New Jersey headquarters, IS EG Halal has locations in
Montevideo, Uruguay and Sao Paolo, Brazil, and we plan to establish a branch in India. IS EG
Halal employs 35 people spread out among its three branches, and works with a large cohort of
subcontractors at various slaughterhouses, ports, and other locations.

5. As a part of my role as president of IS EG Halal, I oversee the company’s operations
in the United States and overseas. I travel to Latin America every two to three months to meet
with clients and slaughterhouses, for approximately two to three weeks at a time. I also travel
there to discuss contracts and future business ventures. I had hoped and planned to travel to India
at the end of last year as well, in order to establish a new branch of the company. My travel
frequently requires me to meet with government officials across the world, as they often will seek
to trade halal certified exports as a means of increasing their trade with Egypt. Ultimately I plan
to establish IS EG Halal branches across the world and will need to travel extensively to
accomplish that goal.

The Government Searched My Home and Business

6. On November 25, 2019, the government executed a search warrant at my home at
100 Alexander Way, Suite 710, Edgewater, New Jersey 07020, and at IS EG Halal’s Edgewater
headquarters, at 125 River Road, Suite 301, Edgewater, New Jersey 07020. The government
entered my home at 6:00 a.m. and began questioning me and seizing my property. The agents who

were present asked me about several people I know from Egypt, including an employee at the
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Egyptian Embassy. I know those people because I have a large family in Egypt and am active in
the Egyptian community through my church, I was not present when the government searched my
office.

7. The government seized several business documents from my home and office,
including IS EG Halal’s incorporation papers and Egyptian governmental authorization letters.
The authorization letters give IS EG Halal permission to certify and import halal products into
Egypt, and typically must be submitted along with individual shipments of halal products to ensure
that they can be unloaded at Egyptian ports.

8. The government took every single piece of paper in the Edgewater headquarters,
including vital documents which are necessary for the company to continue to do business, such
as the authorization letters mentioned above and shipping and billing records, which are necessary
for my employees and I to ensure that our products are arriving in Egypt on time and in the right
form. They seized several desktop computers from my office, including a Lenovo Think Center,
two HP desktops, a BuyPower desktop, and a Dell desktop. They also seized a Lenovo laptop
which my employees use when travelling overseas. They seized my personal Mac Mini laptop, as
well as a tablet which I use when travelling overseas, which contains copies of the Egyptian
government’s authorization letters. The government also seized several servers from my office
which store data and are used for my business’s day-to-day operations, including a MyCloud server
and a Synology server. Those servers store all of my business’s data, but most importantly they
contain copies of the authorization letters from the Egyptian government and shipping and billing
records.

9. The government seized a photo album of a factory in Egypt which I am considering

purchasing in a joint venture with my brother. That factory processes wheat and flour.
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10. The government additionally seized several cellphones from my home and office.
They seized a Samsung cellphone, which is my personal phone. They also seized an iPhone 10
and an iPhone 11, both of which I use for business, as well as a Vertu smartphone which I use
when travelling overseas, especially when I am in Egypt.

11. Finally, the government also seized personal items such as my passport, $5,943.00
in cash, and some jewelry. The jewelry included earrings that I had purchased for my mother for
Christmas, a chain I bought for myself in Italy, and four watches.

12. | When the government seized this property, they specifically told me that they
would return my phone within a day, and everything else within a few days. Specifically, they
promised to return everything shortly after Thanksgiving. Obviously, they have failed to live up
to those promises.

Need For Return of Property

13. I need my passport returned immediately. IS EG Halal is an international business
and my role in the company requires significant amounts of travel to coordinate our
slaughterhouses and shipping efforts across the Americas, develop new business, and establish
new offices. I travel to Latin America every two to three months in order to conduct business such
as coordinating personnel requirements and negotiating contracts with our partners. I am in the
process of opening an office in India and need to travel there as well, which I will do the moment
I have an operational passport. The Indian office is unable to open at the moment because I cannot
travel there to give my signature on key documents.

14. My inability to travel has already cost the company greatly. The Colombian and
Brazilian governments both seek to increase trade with Egypt, and so held meetings with Egyptian

trade officials in order to expand the Egyptian business presence within their country. The meeting
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with Colombian officials was held on December 3, 2019, and the Brazil meeting was on December
16, 2019. I was invited to both meetings, but could not attend because I do not have my passport.
Needless to say, it did not go over well with the Egyptian, Colombian, or Brazilian governments
that I had to send a surrogate to such important meetings. At the Brazilian meeting, it was clear
that an Egyptian general sent to assist with the discussions expected the president of IS EG rather
than a surrogate, and he was displeased that I had not attended.

15. My inability to travel also further impacts the company in other, more mundane
ways; when I travel to Latin America every two to three months, I meet with subcontractors and
my employees to coordinate logistics, such as how many people will be necessary to produce and
ship a certain tonnage of halal products. Those people often cannot come to the United States to
have those conversations, and even if they could, all of the relevant locations and materials are in
Latin America, where the meetings accordingly should take place in order to be useful. These
meetings are often with large companies such as GBS or Minerva, and it is embarrassing, and
makes my company look unprofessional, for me to be unable to attend.

16. IT also need my passport to visit my family back in Egypt and to go on vacations. I
have no family in the United States, and I like to stay close with my Egyptian relatives, whom I
planned to visit. I also need to return because I am considering entering a joint venture with my
brother in Egypt, as discussed in paragraph 9 above (regarding the photo album with pictures of
the factory we are considering purchasing together).

17. I also require my business papers, cellphones, Mac Mini, and tablet, including the
Egyptian government’s authorization letters to conduct business overseas. I need my cellphones
to conduct business and my personal life. I use the Mac Mini as my personal computer, which I

also need. I use the tablet when travelling overseas — | typically spend approximately eight hours
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on the tablet when travelling, as running a transnational company requires me to be communicating
with my employees, subcontractors, clients, and providers constantly.

18. I especially need the business documents, servers, USBs, and computers seized
from IS EG Halal’s headquarters in Edgewater returned because their absence has created chaos
within the company. The government seized all of the authorization letters I have received from
the Egyptian government; those letters correspond to individual shipment containers and are
necessary in order for the containers to be allowed to be taken in at Egyptian ports. For some
shipments, I have serial numbers which correspond to the letters, and I can use those serial numbers
to unload the shipments when they arrive at Egyptian ports. Sometimes J have to contact customers
to request that they send me copies of the authorization letters, which is embarrassing and makes
my company look unprofessional.

19. Without the authorization letters themselves, and without other key information
which was seized by the government such as billing records, shipment papers, and the like, ] am
at the mercy of shippers and customers, who often will claim that the shipments contain the wrong
products, or have an incorrect slaughter date, or various other complaints. Without my records, I
cannot tell if they are correct, even if they are not. This state of affairs leaves my company
appearing very unprofessional and puts us at an informational disadvantage when customers and
producers seek to take hard negotiating positions against us. The billing records, shipment papers,
and authorization letters are all housed on the servers, USBs, computers, and the business
documents which the government seized.

20. | My employees cannot work without computers or operational servers, so ] have
been forced to purchase new computers, servers, and other materials in response to the

government’s actions. Indeed, the government’s actions have already set my business back
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significantly. Four employees quit after the government conducted its search because their work
was disrupted and because they were concerned that the government was investigating the
company. I now need to rehire those employees at the same time that I am attempting to expand
into India. Those employees who remain face the chaos of having no billing or shipment records
and are constantly fielding questions from clients that they cannot answer.

21. Finally, my cash and jewelry should be returned. The cash is money that J eamed
from IS EG Halal; I use it as pocket money and in case of emergencies. The jewelry includes four
watches (two of which are Rolexes that I got as gifts, two others were purchased), a chain I bought
in Italy, and earrings | had specially for my mother for a Christmas gift. I had the earrings specially
made after! saw a version of them (which sold for $70,000) being produced at a friend’s factory;

- I specially designed the earrings for my mother because I liked the design. I do not understand
why the government would take my jewelry, which I would like to wear. Even moreso, I want to
be able to give my mother those specially made earrings, which I had hoped would be an especially
nice Christmas present.

Inability to Get My Passport Back by Other Means

22. Because the government has refused to return my passport, I have tried to apply for

a new one through the United States Department of State Bureau of Consular Affairs (the
“Bureau”). The Bureau told me that they cannot process my application until they have received

clearance from officials higher up the chain of authority in the State Department.

Dated: January 11, 2020
Newark, New Jersey Wael Hana

